 USDC IN/ND case 3:19-cv-00699-JD-MGG document 2 filed 08/29/19 page 1 of 1


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §                      Case No: 3:19-cv-699
                                      §
vs.                                   §                      PATENT CASE
                                      §
FURRION, LLC                          §                      JURY TRIAL DEMANDED
                                      §
      Defendant.                      §
_____________________________________ §

                           PLAINTIFF’S RULE 7.1 STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1 and to enable District Judges and

Magistrate Judges of the Court to evaluate possible disqualification or recusal, the undersigned

counsel for DISPLAY TECHNOLOGIES LLC, a private non-governmental property, certifies

that there are no corporate parents, affiliates and/or subsidiaries owning more than ten percent

(10%) of Plaintiff.



Dated: August 29, 2019                       Respectfully submitted,

                                             /s/ John Bradshaw
                                             JOHN BRADSHAW
                                             BRADSHAW LAW LLC
                                             23 East 39th St.
                                             Indianapolis, IN 46205
                                             (317) 490-4852
                                             john@jbradshawlaw.com

                                             ATTORNEYS FOR PLAINTIFF
